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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL CIVIL ACTION
NQ. 21-80

VS.

SHERIFF JOSEPH P. SECTION "D" (2)

LOPINTO, -TIl, ET AL

JUDGE WENDY B. VITTER
MAGISTRATE JUDGE
DONNA P. CURRAULT

Deposi tion of DAREN PARSA, taken in
the above-entitled cause, pursuant to the
following stipulation, before Ann M. Downs,
a Certified Court Reporter, authorized to
administer oaths of witnessess and to take
deposi tions, pursuant to Title 13 of the
State of Louisiana, given in the offices of
the Jefferson Parish Sheriff's Office, 1233
Westbank Expressway, Fifth Floor, Harvey,
Louisiana 70058, on the 19th day of
September, 2022 commencing at 9:02 a.m.

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KELLY & ASSOCIATES, L.L.C.
Certified Court Reporters
(504) 891-6333

EXHIBIT 4

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A. She asked Donna should -- do you want us
to call the police or call the sheriff's
office. And then Donna opened the door and
asked me and | said yes.

Q. I! guess my last question is, when Chad
Pitfield was replaced by whichever officer
came next to restrain your son, do you have
any recollection of your son's condition at
that time when Chad Pitfield --

A. When the change-over happened, |
remember Donna still holding his hand and
Donna wouldn't be able to hold his hand
unless Eric was calm at that point.

Q. Have you had any conversations with
anybody at Westgate since filing this
lawsuit?

A. We spoke with -- I'm blanking on his
name. He was one of the managers of | aser
tag. We spoke with him maybe a couple weeks
after Eric died and it was regarding the

vi deo.

Q. So you spoke with the manager of the
laser tag?

A. Ri ght.

Q. It's your understanding laser tag is a

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